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Attorneys for Defendants City of Fruitland, Fruitland City Police Department,
       Benjamin Key and J.D. Huff

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 DAVID M. GRANT,                             ) Case No. 1:18-cv-00411-CWD
                                             )
                Plaintiff,                   ) STIPULATION FOR PROTECTIVE
 vs.                                         ) ORDER
                                             )
 BENJAMIN KEY, in his official and           )
 individual capacities, CITY OF              )
 FRUITLAND, a political subdivision of       )
 the State of Idaho, FRUITLAND CITY          )
 POLICE DEPARTMENT, a department )
 of the City of Fruitland, J.D. HUFF, in his )
 individual and official capacity, CITY OF )
 PAYETTE, a political subdivision of the )
 State of Idaho, PAYETTE POLICE              )
 DEPARTMENT, a department of the             )
 City of Payette, BEN BRANHAM, in his )
 individual and official capacity, DUANE )
 HIGLEY, in his individual and official      )
 capacity, MARK CLARK, in his                )
 individual and official capacity, JOHN or )
 JANE DOES #1-10, whose true identities )
 are presently unknown, and other            )
 Employees of the City of Fruitland, the     )
 City of Payette, or Payette County,         )
                                             )
                Defendants.                  )
 _________________________________ )



STIPULATION FOR PROTECTIVE ORDER – 1
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       COME NOW, Defendants City of Fruitland, Fruitland City Police Department, Benjamin

Key and J.D. Huff, by and through their counsel of record, Michael J. Elia, of the law firm of

Moore Elia Kraft & Hall, LLP, Defendant Payette City, by and through its counsel of record,

Michael W. Kane, of the firm Michael Kane & Associates, PLLC, and the Plaintiff, David

Grant, by and through his counsel of record, Jason Monteleone of the firm Johnson &

Monteleone, L.L.P., and hereby stipulate and agree to the entry of a Protective Order in the

above-entitled matter, pursuant to Federal Rule of Civil Procedure 26(c), in the form attached

hereto, to govern the designation, disclosure and use of protected information, and documents

by the parties in this action.

       DATED this 12th day of December, 2019.

                                 MOORE ELIA KRAFT & HALL, LLP


                                 By:/s/ Michael J. Elia______________
                                 Michael J. Elia, of the firm
                                 Attorneys for Defendants City of Fruitland, Fruitland
                                 City Police Department, Benjamin Key and J.D. Huff

       DATED this 12th day of December, 2019.

                                 Michael Kane & Associates, PLLC

                                 By:/s/ Michael W. Kane ______________________
                                 Michael W. Kane
                                 Attorneys for Payette City Defendants

       DATED this 12th day of December, 2019.

                                 Johnson & Monteleone, LLP

                                 By:/s/ Jason Monteleone_______________________
                                 Jason Monteleone
                                 Attorneys for Plaintiff



STIPULATION FOR PROTECTIVE ORDER – 2
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of December, 2019, I caused to be served a true
and correct copy of the foregoing document, by the method indicated below, and addressed to the
following:

 Jason R.N. Monteleone                       __x__ ECF service
 Johnson & Monteleone, L.L.P.                      Jason@treasurevalleylawyers.com
 350 N. 9th St., Ste. 500
 Boise, Idaho 83702
 Attorneys for Plaintiff

 Michael W. Kane                             __x__ ECF service
 Michael Kane & Associates, PLLC                   mkane@ktlaw.net
 4355 West Emerald Street, Suite 190
 P.O. Box 2865
 Boise, Idaho 83701-2865
 Attorneys for Payette City Defendants

                                             /s/ Michael J. Elia ___________
                                             Michael J. Elia




STIPULATION FOR PROTECTIVE ORDER – 3
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Attorneys for Defendants City of Fruitland, Fruitland City Police Department,
       Benjamin Key and J.D. Huff

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

 DAVID M. GRANT,                             ) Case No. 1:18-cv-00411-CWD
                                             )
                Plaintiff,                   ) PROTECTIVE ORDER
 vs.                                         )
                                             )
 BENJAMIN KEY, in his official and           )
 individual capacities, CITY OF              )
 FRUITLAND, a political subdivision of       )
 the State of Idaho, FRUITLAND CITY          )
 POLICE DEPARTMENT, a department )
 of the City of Fruitland, J.D. HUFF, in his )
 individual and official capacity, CITY OF )
 PAYETTE, a political subdivision of the )
 State of Idaho, PAYETTE POLICE              )
 DEPARTMENT, a department of the             )
 City of Payette, BEN BRANHAM, in his )
 individual and official capacity, DUANE )
 HIGLEY, in his individual and official      )
 capacity, MARK CLARK, in his                )
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 JANE DOES #1-10, whose true identities )
 are presently unknown, and other            )
 Employees of the City of Fruitland, the     )
 City of Payette, or Payette County,         )
                                             )
                Defendants.                  )
 _________________________________ )



PROTECTIVE ORDER – 1
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       Pursuant to Federal Rule of Civil Procedure 26(c) and the Stipulation for Protective Order

submitted by the parties for good cause showing, IT IS HEREBY ORDERED as follows:

       1.      That this Protective Order shall govern the designation, disclosure and use of

protected information by the parties in this action, including any and all personal and/or

identifying information related to current employee of Defendant Fruitland City Police

Department, Defendant Benjamin Key. This includes, but is not limited to, records exempt from

disclosure pursuant § 74-101 et seq.

       2.      In this Protective Order, the term “protected information” shall mean information

designated as protected by a party pursuant to this Protective Order. Information so designated

may be all or part of a document or thing, testimony, interrogatory answer, admission, or other

form of evidence or discovery.

       3.      A party may designate as protected information any information or thing that said

party believes in good faith constitutes or embodies information intended to be protected by this

Order as set forth in Paragraph 1 above.

       4.      Protected information shall be designated by the following procedure:

               (a) When a document to be produced for inspection contains protected

information, the producing party shall notify the inspecting party. A document produced for

inspection for which such notice has been given shall be inspected only by persons authorized in

accordance with Paragraph 7 of this Protective Order.

               (b) When a requesting party seeks a copy of a document, the producing party shall

designate the copy as containing protected information by stamping the first page of the copy and

each page of the copy that contains such information.




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               (c) When deposition testimony contains protected information, any attorney of

record authorized pursuant to Paragraph 7 herein may designate said testimony as containing

protected information by notifying others present at the deposition. The court reporter shall then

mark each page of the transcript that contains protected information. If no such designation is

made at the time the deposition is taken, the transcripts and exhibits shall not be deemed to contain

protected information.

               (d) When a response to an interrogatory or request for admission contains

protected information, the response shall be designated as such by stamping the first page of the

document and those additional pages containing protected information.

       5.      Any protected information or any document incorporating protected information

that is filed or lodged with the Court must do so under seal, pursuant to Federal Rules of Civil

Procedure 5.2 and District Local Rule Civ. 5.3.

       7.      Protected information may be disclosed only to:

               (a) Any party, and any attorney representing a party in this action, who has read

this Protective Order, and agrees to be bound by it, and has signed the acknowledgment attached

hereto as Appendix A, and any other person assisting such an attorney, employed by the same law

firm or organization as the attorney, and for whom access to confidential information is necessary

to perform a duty with respect to this action. The execution of this Protective Order by any

member of a law firm or organization shall constitute a representation that all persons in or

employed by that firm shall observe this Protective Order.

               (b) Any expert or consultant qualified to have access to protected information as

provided in Paragraph 8 of this Protective Order.




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               (c) Any personnel of the Court and court reporters retained to record and

transcribe testimony in this action.

               (d) Any employee of the party that produced the protected information.

               (e) Any person who authored or received the protected information prior to its

designation in this action as protected information.

               (f) Any person, if the protected information is publicly disclosed by the party that

designated the protected information.

               (g) Personnel of photocopy firms and/or graphics firms who subscribe to and

agree to be bound by the terms of this Protective Order and who have executed an

acknowledgment form similar to Appendix A hereto. Only documents needed to be copied will

be provided to said individuals.

         8.    Either party may designate experts or consultants, who are not regular employees

of either party, and who may have access to protected information. An expert or consultant shall

qualify for access to such information as follows:

               (a) The party seeking to disclose protected information shall first have said expert

or consultant complete and sign an acknowledgment form, shown as Appendix B to this Protective

Order.

               (b) When a corporation or other organization is engaged as an expert or consultant

by a party or its counsel of record, said corporation or organization may become qualified to

review protected information under this Protective Order only upon the qualification of each

natural person within such organization or corporation who has access to protected information.

         9.    Either party may only introduce protected information into evidence or otherwise

disclose such information in open Court proceedings upon consent of the designating party or




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permission of the Court.

       10.        The substance or contents of any protected information, as well as any notes,

abstracts, copies, summaries and memoranda relating thereto, shall not be disclosed to or

accessible by anyone other than a person qualified to obtain protected information pursuant to this

Protective Order.

       11.        All materials produced in discovery, including but not limited to protected

information, shall be used solely in preparation for trial and/or appeal of this action, and shall not

be used or disclosed at any other time or for any other purpose whatsoever.

       12.        It shall be the duty and responsibility of counsel of record to ensure that documents

or things containing protected information subject to counsel’s control shall at all times be kept in

a safe and secure fashion to ensure that such information is not disclosed to or made accessible to

persons other than those specifically authorized to review protected information under this

Protective Order. Counsel of record shall be directly responsible to the court for fulfilling this

responsibility.

       13.        The inadvertent or unintended disclosure by a party of protected information shall

not be deemed a waiver in whole or in part of a subsequent claim of protection under this

Protective Order, either as to the specific information disclosed or as to any other such

information, provided that the inadvertent or unintended disclosure is promptly identified by the

disclosing party and notice of the claim of protection is given to the other party.

       14.        A party shall not be obligated to challenge the propriety of any designation of

protected information at the time of designation, and a failure to do so shall not preclude a

subsequent challenge to the designation. If a party objects to any designation of such information

the parties shall first try to resolve such dispute in good faith on an informal basis. If the dispute




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cannot be resolved informally, the designating party may seek appropriate relief from this Court.

       15.     Within thirty (30) days after the termination of this action, upon written request by

the designating party, the originals and all copies of protected information shall be destroyed or

returned to the party that produced such information, or to its attorney, except that one copy of

such information may be retained in the files of each attorney. Any information so retained shall

be maintained pursuant to this Protective Order, and by retaining this information each attorney

agrees to the continuing jurisdiction of this Court for purposes of enforcing this Protective Order.

The designating party that seeks the return or destruction of protected information shall be

responsible for reimbursing the other party for the actual costs incurred in destroying or returning

the protected information.

       16.     Should any party, or person qualified to obtain protected information hereunder, or

their agents or representatives, receive any request for information, whether through formal

compulsory process or lawful authority of the court or otherwise, prior to responding thereto, such

person or counsel shall promptly serve written notice of receipt of same on counsel for all parties

hereto in order to allow said party or parties to move an appropriate court or tribunal for a ruling

respecting the necessity of compliance therewith. Absent a ruling from the appropriate court or

tribunal on said motion, the person or party receiving the aforesaid request for information or

compulsory process shall not produce in response thereto and shall thereafter do so only insofar as

the court or tribunal may direct.

       17.     Upon final termination of this action, whether by settlement, dismissal or other

disposition, the provisions of this Protective Order shall continue to be binding upon all persons

or entities who are subject to the terms hereof, and the court shall retain jurisdiction for

enforcement of this order.




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       18.       As an alternative to filing a document or information, in its entirety, under seal as

set forth in this Order, either party may choose to redact those particular portions of the document

or information containing such personal and/or identifying information related to Plaintiffs, as

long as such redactions do not substantially alter the meaning of the document or information.

       19.       Either party may seek additional protection or disclosure with respect to protected

information as that party may consider appropriate.

       20.       Either party may request the modification of this Protective Order upon a showing

of good cause.

       DATED this ______ day of December, 2019.


                                               __________________________________
                                               Honorable Candy W. Dale
                                               United States Magistrate Judge




PROTECTIVE ORDER – 7
